 Case 18-16534-jkf        Doc 26
                          Filed 01/15/19 Entered 01/15/19 13:32:44 Desc Main
                           Document     Page 1 of 3
                IN THE UNITED STATES BANKRUPTCY COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
IN RE:                                     :
DIANE L. ROSSI                             :    BK. No. 18-16534-jkf
                      Debtor               :
                                           :    Chapter No. 13
WELLS FARGO BANK, N.A.                     :
                      Movant               :
                 v.                        :
DIANE L. ROSSI                             :
GILBERTO CARRASQUILLO (NON-FILING          :    11 U.S.C. §362 AND §1301
CO-DEBTOR)                                 :
                      Respondents          :

  MOTION OF WELLS FARGO BANK, N.A. FOR RELIEF FROM AUTOMATIC STAY
  UNDER §362 AND CO-DEBTOR STAY UNDER §1301 PURSUANT TO BANKRUPTCY
                         PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and Co-Debtor Stay and leave to foreclose on its mortgage

on real property owned by DEBTOR, DIANE L. ROSSI A/K/A DIANE ROSSI and NON-FILING

CO-DEBTOR, GILBERTO CARRASQUILLO.

               1.      Movant is WELLS FARGO BANK, N.A.

               2.      Debtor(s) executed a promissory note secured by a mortgage or deed of trust.

The promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly or

through an agent, has possession of the promissory note. Creditor is the original mortgagee or

beneficiary or the assignee of the mortgage or deed of trust.

               3.      DEBTOR, DIANE L. ROSSI A/K/A DIANE ROSSI and NON-FILING CO-

DEBTOR, GILBERTO CARRASQUILLO, are the owners of the premises located at 11614

HENDRIX TERRACE, PHILADELPHIA, PA 19116 NKA 11614 HENDRIX TER,

PHILADELPHIA, PA 19116, hereinafter known as the mortgaged premises.

               4.      Movant is the holder of a mortgage on the mortgaged premises. The terms of

the Debt Agreement were amended by a loan modification agreement entered into by and between

Wells Fargo Bank, N.A. and Debtor(s) dated May 16, 2014 (the "Loan Modification Agreement").

               5.      Debtor's failure to tender monthly payments in a manner consistent with the
 Case 18-16534-jkf        Doc 26   Filed 01/15/19 Entered 01/15/19 13:32:44                Desc Main
                                    Document         Page 2 of 3
terms of the Mortgage and Note result in a lack of adequate protection.

               6.      Movant instituted foreclosure proceedings on the mortgage because of Debtor's

failure to make the monthly payment required hereunder.

               7.      The foreclosure proceedings instituted were stayed by the filing of the instant

Chapter 13 Petition.

               8.      As of January 4, 2019, Debtor has failed to tender post-petition mortgage

payments for the months of October 2018 through January 2019. The monthly payment amount for

the months of October 2018 through January 2019 is $643.01 each, less suspense in the amount of

$71.50, for a total amount due of $2,500.54. The next payment is due on or before February 2, 2019 in

the amount of $643.01. Under the terms of the Note and Mortgage, Debtor has a continuing obligation

to remain current post-petition and failure to do so results in a lack of adequate protection to Movant.

               9.      Movant additionally seeks relief from the Co-Debtor Stay under §1301(c) (if

applicable) in the instant case, as the continuation of the co-debtor stay causes irreparable harm to the

Movant. Movant may be barred from moving forward with its state court rights under the terms of the

mortgage without relief from the Co-Debtor Stay.

               10.     Movant has cause to have the Automatic Stay and Co-Debtor Stay terminated

as to permit Movant to complete foreclosure on its mortgage.

               11.     Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               12.     Movant requests that Federal Rule of Bankruptcy Procedure 3002.1 be waived.

               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.      Modifying the Automatic Stay under Section 362 and Co-Debtor Stay under

Section 1301 with respect to 11614 HENDRIX TERRACE, PHILADELPHIA, PA 19116 NKA

11614 HENDRIX TER, PHILADELPHIA, PA 19116 (as more fully set forth in the legal

description attached to the Mortgage of record granted against the Premises), as to allow Movant, its
 Case 18-16534-jkf       Doc 26     Filed 01/15/19 Entered 01/15/19 13:32:44 Desc Main
                                     Document         Page 3 of 3
successors and assignees, to proceed with its rights under the terms of said Mortgage; and

              b.     That relief from any Co-Debtor Stay (if applicable) is hereby granted; and

              b.     Movant specifically requests permission from this Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

              c.     Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

              d.     Granting any other relief that this Court deems equitable and just.

                                                   /s/ Thomas Song, Esquire
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